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                 Exhibit 6
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1                     UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4
5     ___________________________________
6     WAYMO LLC,                                          )
7                       Plaintiff,                        )
8         vs.                                             ) Case No.
9     UBER TECHNOLOGIES, INC.;                            ) 17-cv-00939-WHA
10    OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
11                     Defendants.                        )
      ___________________________________)
12
13     HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
14
15        VIDEOTAPED DEPOSITION OF ANGELA L. PADILLA, ESQ.
16                      San Francisco, California
17                         Monday, October, 2017
18                                  Volume I
19
20    Reported by:
21    MARY J. GOFF
22    CSR No. 13427
23    JOB No. 2716665
24
25    PAGES 1-111

                                                                   Page 1

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1                     UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4
5     ___________________________________
6     WAYMO LLC,                                          )
7                       Plaintiff,                        )
8         vs.                                             ) Case No.
9     UBER TECHNOLOGIES, INC.;                            ) 17-cv-00939-WHA
10    OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
11                     Defendants.                        )
12    ___________________________________)
13
14
15
16              Highly Confidential Videotaped Deposition of
17    ANGELA L. PADILLA, ESQ. Volume I, taken on behalf of
18    Plaintiff Waymo LLC, at Quinn Emanuel Urquhart &
19    Sullivan, LLP, 50 California Street, 22nd Floor,
20    beginning at 9:11 a.m. and ending at 1:34 p.m., on
21    October 2, 2017, before MARY GOFF, Certified
22    Shorthand Reporter No. 13427.
23
24
25

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1            A       I'm comfortable saying that I retained         09:28:41

2     them at VMWare, but I can't discuss the particular            09:28:43

3     transactions, because those would be attorney/client          09:28:47

4     privileged based on transactions that VMWare did.             09:28:49

5            Q       (BY MR. PERLSON) Okay.      How -- how many    09:28:53

6     transactions at VMWare did you retain Stroz for?              09:28:55

7            A       I cannot remember the exact number, but        09:28:59

8     maybe to two three.                                           09:29:04

9            Q       And you won't answer questions regarding       09:29:11

10    the specifics of those transactions or the                    09:29:13

11    investigations; is that fair?                                 09:29:16

12           A       That's fair, because it's privileged to my     09:29:19

13    former employer.                                              09:29:22

14           Q       And in what ways -- well, never mind.          09:29:32

15                   Other than the general idea of retaining       09:29:57

16    Stroz Friedberg, did you -- what -- what                      09:30:00

17    specifically did you have in mind that they would be          09:30:07

18    doing as part of their investigation?                         09:30:09

19                   MR. GONZALEZ:    So I'll let her answer this   09:30:13

20    question if you'll agree there's not a waiver.                09:30:15

21                   MR. PERLSON:    Nope.                          09:30:18

22                   MR. GONZALEZ:    Okay.   Then I'll instruct    09:30:19

23    her.       The engagement letter lays out why they were       09:30:20

24    engaged, if you want specifics, as does the Stroz             09:30:25

25    report.                                                       09:30:28

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1          Q     (BY MR. PERLSON) Okay.       You're following   09:30:30

2     the instruction, I assume?                                 09:30:31

3          A     I am.                                           09:30:32

4          Q     Do you --                                       09:30:32

5                MR. GONZALEZ:     You have a Vela-bound typed   09:31:05

6     outline?                                                   09:31:07

7                MR. PERLSON:    Huh?                            09:31:09

8                MR. GONZALEZ:     You have a Vela-bound typed   09:31:09

9     outline.   I'm incredibly impressed.                       09:31:11

10               MR. PERLSON:    I think if you looked at it,    09:31:14

11    you would not be nearly as impressed.                      09:31:16

12         Q     (BY MR. PERLSON) Do you know the specifics      09:31:34

13    of what Stroz did in their investigation?                  09:31:35

14               MR. GONZALEZ:     And just yes or no.           09:31:39

15         A     Generally, yes.                                 09:31:43

16         Q     (BY MR. PERLSON) What's your general            09:31:45

17    understanding?                                             09:31:47

18               MR. GONZALEZ:     And again, if you will        09:31:48

19    agree that it's not a waiver, I will let her answer.       09:31:49

20               MR. PERLSON:    I -- I will not.                09:31:53

21               MR. GONZALEZ:     Okay.   Then I'll instruct    09:31:54

22    her not to answer.                                         09:31:55

23         Q     (BY MR. PERLSON) You'll follow the              09:31:57

24    instruction, I assume?                                     09:31:58

25         A     I will.                                         09:31:59

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1          Q       Were there any particular concerns that        09:32:31

2     you had regarding the individuals involved in               09:32:36

3     Ottomotto that prompted you to have the idea to             09:32:43

4     retain Stroz in relation to the Ottomotto                   09:32:54

5     transaction?                                                09:32:58

6                  MR. GONZALEZ:    And you agree it's not a      09:32:58

7     waiver if she answers that?                                 09:33:00

8                  MR. PERLSON:    No.                            09:33:01

9                  MR. GONZALEZ:    Okay.   Then we'll instruct   09:33:01

10    her not to answer.                                          09:33:05

11         A       I'll follow the instruction.                   09:33:06

12                 MR. GONZALEZ:    In general, I'll tell you     09:33:10

13    that I'm going to instruct not to answer anything           09:33:11

14    about her state of mind, if that helps at all.              09:33:13

15         Q       (BY MR. PERLSON) Do you know whether Stroz     09:33:48

16    Friedberg investigated anything beyond the personal         09:33:50

17    devices of the diligenced employees?                        09:33:58

18         A       Answer yes or no or --                         09:34:06

19                 MR. GONZALEZ:    Yeah, same -- same            09:34:08

20    question.     If she answers, do you agree it's not a       09:34:09

21    waiver?                                                     09:34:12

22                 MR. PERLSON:    No.                            09:34:13

23                 MR. GONZALEZ:    Then I'll instruct her not    09:34:13

24    to answer.                                                  09:34:15

25         Q       (BY MR. PERLSON) Do you know whether Stroz     09:34:20

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1     Friedberg retained -- let me start over again.             09:34:22

2               Do you know whether Stroz Friedberg did          09:34:25

3     any investigations into any Ottomotto document             09:34:28

4     repositories?                                              09:34:33

5               MR. GONZALEZ:   Same instruction.                09:34:35

6          Q    (BY MR. PERLSON) That you will follow?           09:34:36

7          A    Yes.                                             09:34:40

8          Q    Do you know when Stroz began their               09:34:48

9     investigation in relation to the Ottomotto                 09:34:52

10    transaction?                                               09:34:56

11              MR. GONZALEZ:   You can -- you can answer        09:34:59

12    that to the extent it's disclosed in the Stroz             09:35:00

13    report, if you can remember.                               09:35:03

14         A    My general sense is it was in the                09:35:06

15    February-March time frame.                                 09:35:08

16         Q    (BY MR. PERLSON) When is the first time          09:35:31

17    that you personally spoke with Anthony Levandowksi?        09:36:18

18         A    I know it was after the deal downloads.          09:36:30

19    Gosh, it -- it might have been late summer, early          09:36:43

20    fall --                                                    09:36:52

21         Q    Yeah.                                            09:36:53

22         A    -- of 2016.                                      09:36:53

23         Q    So you personally hadn't spoke with              09:36:56

24    Mr. Levandowski until after August of 2016?                09:37:03

25         A    That could be right.    It's -- it's really      09:37:17

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1          Q     -- was August of 2016.                            09:41:45

2          A     I think so.     I think there was a final         09:41:47

3     report before the deal closed.                               09:41:49

4          Q     And had you received any interim reports          09:41:58

5     from Stroz before the final report?                          09:42:02

6                MR. GONZALEZ:     You can answer that "yes"       09:42:07

7     or "no."                                                     09:42:08

8          A     "Interim" meaning that could be in -- oral        09:42:13

9     or writing?                                                  09:42:18

10         Q     (BY MR. PERLSON) Yeah.                            09:42:19

11         A     Yes.                                              09:42:20

12         Q     Okay.   And when do you recall the first          09:42:20

13    interim report would have been?                              09:42:26

14         A     So a couple of things.       First, I don't       09:42:34

15    think I got anything directly from Stroz.          On this   09:42:36

16    basis, I believe anything I received was told to me          09:42:39

17    by either outside counsel or my colleagues, in-house         09:42:43

18    counsel.                                                     09:42:47

19               I'm 99.9 percent sure I never got a --            09:42:47

20    never had a conversation with Stroz about his                09:42:51

21    report.                                                      09:42:54

22               The second thing is I feel like the               09:42:55

23    interim -- I didn't even think of them candidly as           09:42:57

24    interim reports.    I thought of them as just kind of        09:43:00

25    updates, check-ins.      Probably in March, maybe early      09:43:03

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1     April --                                                   09:43:09

2             Q   Okay.                                          09:43:10

3             A   -- late March, early April.                    09:43:10

4             Q   So just to --                                  09:43:12

5             A   And I do not remember a first one as           09:43:14

6     opposed to a second or a third one.                        09:43:15

7             Q   Sure.   And so in relation to the Stroz        09:43:19

8     Friedberg due diligence that was gone in connection        09:43:21

9     with the Otto acquisition, is it fair to say that --       09:43:24

10    that you personally were not interfacing with Stroz        09:43:32

11    Friedberg in relation to their investigation?              09:43:35

12            A   That's correct.     I delegated that work.     09:43:37

13            Q   So if Stroz was giving reports on what was     09:43:44

14    going on in the investigation, you would have heard        09:43:47

15    those reports from someone that Stroz had                  09:43:55

16    communicated with other than you?                          09:43:58

17            A   That's right.     Secondhand.                  09:44:00

18            Q   You weren't hanging out with them looking      09:44:08

19    at Mr. Levandowski's computers?                            09:44:10

20            A   I was not.                                     09:44:12

21                MR. GONZALEZ:     What's that number?          09:45:18

22                MR. PERLSON:    That's a good question.        09:45:20

23    8101.                                                      09:45:24

24                (Exhibit 8101 was marked for                   09:45:25

25    identification and is attached to the transcript.)         09:45:25

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1          Q     (BY MR. PERLSON) This one was already            09:45:26

2     marked.   I'll get you a copy in a second.                  09:45:37

3                MR. GONZALEZ:     Thanks.                        09:45:40

4          A     Should I look at both at the same time or        09:45:51

5     one before the other?                                       09:45:53

6          Q     (BY MR. PERLSON) Yeah.       So --               09:45:55

7                MR. GONZALEZ:     And can you give me a copy     09:45:56

8     of the other one?     You just gave me one document.        09:45:58

9                MR. PERLSON:    Oh, sorry.                       09:46:01

10         Q     (BY MR. PERLSON) So if you look at what's        09:46:17

11    been previously marked as "7111," the bigger                09:46:18

12    document, it refers to "Draft Summary Interview of          09:46:22

13    Anthony Levandowksi."                                       09:46:26

14               Do you see that?                                 09:46:27

15         A     I see that.                                      09:46:28

16         Q     And then in the 8101, there is an e-mail         09:46:29

17    that's forwarded eventually to you regarding the            09:46:41

18    redacted "Memo Re Interview of Anthony Levandowksi."        09:46:46

19               Do you see that?                                 09:46:53

20         A     I do, yes.                                       09:46:55

21         Q     Okay.    So do you recall seeing Exhibit         09:46:56

22    7111 previously?                                            09:47:03

23         A     Generally, yes.                                  09:47:09

24         Q     Okay.    And you think it was at or about        09:47:10

25    the -- the time of this April 2 e-mail?                     09:47:12

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1          A     Do you know this exhibit doesn't have any        09:47:16

2     pages in it?                                                09:47:18

3                MR. GONZALEZ:     Yeah.   I was going to say,    09:47:19

4     Counsel, you have got a bunch of blank pages, which         09:47:20

5     I assume is probably not what you intended.                 09:47:24

6                MR. PERLSON:     I believe that my copy          09:47:26

7     doesn't have that.      That's weird.                       09:47:28

8                MR. GONZALEZ:     Yeah, mine --                  09:47:29

9          A     Yeah, there's nothing after page 4.              09:47:30

10               MR. GONZALEZ:     -- now, the other thing I'm    09:47:33

11    going to note is that the -- the e-mail to                  09:47:34

12    Ms. Padilla says "Redacted Memorandum."                     09:47:36

13               Maybe that's why it's all black -- or            09:47:40

14    blank.   Are those the redactions?                          09:47:43

15               MR. PERLSON:     I think that's it's -- it's     09:47:45

16    a copying error --                                          09:47:47

17               MR. GONZALEZ:     Okay.                          09:47:50

18         A     Can I see --                                     09:47:52

19               MR. PERLSON:     -- which we can --              09:47:52

20         A     -- the document?                                 09:47:52

21               MR. PERLSON:     -- rectify it before I ask      09:47:53

22    questions about it --                                       09:47:55

23         A     Okay.                                            09:47:57

24               MR. PERLSON:     -- which I think is fair.       09:47:57

25         A     Thank you.                                       09:47:58

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1                MR. GONZALEZ:    All right.     And -- and       09:47:58

2     just -- again, I want to make sure that what you            09:47:59

3     show her is the redacted one that was attached to           09:48:01

4     the --                                                      09:48:04

5                MR. PERLSON:    Well --                          09:48:04

6                MR. GONZALEZ:    -- e-mail.                      09:48:04

7                MR. PERLSON:    -- you can make your             09:48:05

8     objections, if you want.     Can --                         09:48:07

9                MR. GONZALEZ:    All right.     Okay.            09:48:08

10               MR. PERLSON:    -- and I -- I don't think I      09:48:08

11    really asked her a question that necessarily                09:48:09

12    conflicted with any of that so...                           09:48:11

13               MR. GONZALEZ:    All right.     Go for it.       09:48:14

14               MR. PERLSON:    Well, I'll get --                09:48:15

15               MR. GONZALEZ:    Do you want the blank -- do     09:48:16

16    you want the blank pages back?                              09:48:17

17               MR. PERLSON:    That's not very useful to        09:48:23

18    anybody.                                                    09:48:26

19               (Exhibit 7111 was retained by counsel.)          09:48:27

20         Q     (BY MR. PERLSON) Do you know whether Stroz       09:48:42

21    Friedberg was able to complete its investigation            09:48:43

22    before the signing of the April 11 Merger Agreement?        09:48:49

23               MR. GONZALEZ:    So same -- same question to     09:49:02

24    you, Counsel.   If I let her answer that, will you          09:49:03

25    agree it's not a waiver?                                    09:49:06

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1                    MR. PERLSON:    Nope.                         09:49:08

2                    MR. GONZALEZ:    Then I'm going to instruct   09:49:09

3     her.       Because as she has indicated earlier, she had     09:49:10

4     no conversations with Stroz.           And any information   09:49:12

5     she would have responsive to that would have come            09:49:16

6     from privileged discussions.                                 09:49:19

7                    And again, I'm willing to let her answer      09:49:20

8     some of these general background questions and move          09:49:23

9     things along, but not if you're going to take the            09:49:25

10    position that all of a sudden we waive the                   09:49:27

11    privilege.                                                   09:49:29

12                   MR. PERLSON:    Yeah, I -- I reject the       09:49:30

13    proposition that she could have only learned about           09:49:31

14    those things by virtue of privileged conversations.          09:49:31

15    But you're -- you know, you're free to instruct her          09:49:35

16    as you want, obviously.                                      09:49:37

17                   MR. GONZALEZ:    You can ask her about        09:49:39

18    nonprivileged conversations she had.                         09:49:40

19           Q       (BY MR. PERLSON) Do you know whether Stroz    09:49:55

20    ever communicated to Uber or its counsel that it did         09:49:59

21    not have sufficient time to finish its investigation         09:50:05

22    before the April 11 Merger Agreement with Otto was           09:50:14

23    signed?                                                      09:50:23

24                   MR. GONZALEZ:    If you have any              09:50:25

25    nonprivileged information, you can tell him that.            09:50:26

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1     Otherwise, I would instruct you if your information           09:50:28

2     only came from a privileged source.                           09:50:31

3             A      So to be clear, the only information that      09:50:33

4     I had would have been coming from Eric Tate,                  09:50:37

5     possibly others at MoFo.                                      09:50:42

6                    For example, I see Anna Ferrari's name         09:50:45

7     here.       I know she was pregnant and had a baby later      09:50:47

8     in the year, but I think she was still working here.          09:50:50

9                    So either from Eric or Anna or from my         09:50:52

10    colleagues, Justin Suhr, Christian.            You know,      09:50:55

11    Andrew.       Just the -- the lawyers, both in-house and      09:51:00

12    at -- outside counsel who were working on the deal.           09:51:04

13    I never spoke to anyone outside of it.                        09:51:06

14                   MR. GONZALEZ:    So on that basis, I'm going   09:51:09

15    to instruct her not to answer.                                09:51:11

16                   MR. PERLSON:    Well, that's a fine            09:51:13

17    instruction.       Again, I -- I don't think that just        09:51:15

18    because you would have gotten information from                09:51:17

19    lawyers means that everything you received is -- was          09:51:21

20    privileged.       But if -- if you want to instruct on        09:51:26

21    that basis, again, that's fine.                               09:51:27

22            Q      (BY MR. PERLSON) And so you're following       09:51:32

23    that instruction?                                             09:51:34

24            A      I am.   We were working together to give       09:51:35

25    advice to the company, so yes.                                09:51:37

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1     with any of the files listed in Section 1 below on             10:00:18

2     March 10, 2016 or January 24, 2016.                            10:00:23

3                  Do you see that?                                  10:00:32

4          A       Yes, I do.                                        10:00:32

5          Q       Okay.   And -- and there's a -- do you see        10:00:33

6     there's a long detailed list that follows that                 10:00:38

7     statement?                                                     10:00:40

8          A       Yeah, I see that.                                 10:00:46

9          Q       Did Uber find that explanation to be              10:00:48

10    plausible --                                                   10:00:52

11                 MR. GONZALEZ:   Ob --                             10:00:53

12         Q       (BY MR. PERLSON) -- that he would not know        10:00:53

13    of whether he had initiated access with any of the             10:00:54

14    files listed in Section 1?                                     10:00:59

15                 MR. GONZALEZ:   I -- I'm going to object          10:01:02

16    and instruct you not to answer, unless you have some           10:01:03

17    nonprivileged information on that point.                       10:01:06

18         A       No, I have nothing that's not privileged.         10:01:10

19         Q       (BY MR. PERLSON) Did Uber ask Stroz               10:01:18

20    Friedberg whether it found this -- that --                     10:01:19

21    Mr. Levandowski's indication that he did not recall            10:01:24

22    whether he had initiated access with any of the                10:01:30

23    files in Section 1 -- let me start over.          Let me ask   10:01:33

24    that question again.                                           10:01:41

25                 Did the Uber ask Stroz Friedberg to               10:01:42

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1     investigate further in relation to Mr. Levandowski's            10:01:46

2     response that he did not recall whether he initiated            10:01:55

3     access with any of the files listed in Section 1?               10:01:58

4                 MR. GONZALEZ:   Same instruction.          If you   10:02:03

5     have nonprivileged information, you can share that              10:02:03

6     with him.                                                       10:02:05

7             A   Anything I know is -- is privileged.                10:02:07

8             Q   (BY MR. PERLSON) Would you agree that as            10:02:18

9     of April 11, 2016, Uber could not be sure one way or            10:02:19

10    the other whether Mr. Levandowski had intentionally             10:02:24

11    accessed or retained Google confirmation -- Google              10:02:30

12    confidential confirmation in his work at Ottomotto?             10:02:34

13                MR. GONZALEZ:   I'm going to instruct you           10:02:38

14    not to answer, mental impression.                               10:02:40

15            Q   (BY MR. PERLSON) Would you agree that as            10:02:48

16    of April 11, 2016, Uber had information that showed             10:02:49

17    that Mr. Levandowski had accessed Google                        10:02:55

18    confidential information at a time in which he was              10:03:01

19    also working for Ottomotto?                                     10:03:07

20                MR. GONZALEZ:   Same instruction.          If you   10:03:09

21    have any nonprivileged information, you can share               10:03:09

22    that.                                                           10:03:13

23            A   Everything I know came in connection with           10:03:14

24    my work representing the company.                               10:03:16

25            Q   (BY MR. PERLSON) So you can't answer that           10:03:20

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1     without revealing confidential information --               10:03:25

2          A       That's true.                                   10:03:27

3          Q       -- or privileged information?         Sorry.   10:03:28

4          A       Yes, privileged information.                   10:03:29

5          Q       Would you agree that as of April 11, 2016,     10:03:37

6     Uber had information that showed that                       10:03:43

7     Mr. Levandowski possessed Google information --             10:03:44

8     Google confidential information at the same time he         10:03:49

9     was also working for Ottomotto?                             10:03:52

10                 MR. GONZALEZ:     Same instruction.            10:03:56

11         Q       (BY MR. PERLSON) Which you will follow         10:03:59

12    advice?                                                     10:04:04

13         A       Yes.                                           10:04:04

14         Q       Do you know whether Uber required              10:04:19

15    Mr. Levandowski to sign an attestation that he would        10:04:21

16    not use Google confidential information at Uber?            10:04:25

17         A       It would be our practice to do that.           10:04:34

18         Q       Do you know whether it did or not              10:04:36

19    specifically as to Levandowski?                             10:04:38

20         A       I think he did.                                10:04:40

21         Q       Do you recall when that was?                   10:04:41

22         A       It's generally before people are               10:04:44

23    onboarded.     It's part of the HR process.                 10:04:47

24         Q       Have you ever personally seen                  10:04:50

25    Mr. Levandowski's -- any -- let me start over again.        10:04:52

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